                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )
V.                                          )        NO: 2:11-00003-2
                                            )        JUDGE SHARP
JOSHUA EDWARD CALDWELL                      )


                                           ORDER

       Pending before the Court is Defendant Caldwell’s Motion to Continue Sentencing

Hearing (Docket No. 242) to which the Government does not oppose.

       The motion is GRANTED and the sentencing set for March 15, 2013, is hereby

continued to Friday, August 9, 2013, at 2:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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